                                                     SO ORDERED.


                                                     Dated: January 12, 2022




                                                     Eddward P. Ballinger Jr., Bankruptcy Judge
                                                     _________________________________




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